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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
UNITED STATES OF AMERICA,                                    :
                                                             :
         - v. -                                              :             20-CR-412 (AT)
                                                             :
TIMOTHY SHEA, et al.,                                        :
                                                             :
                           Defendants.                       :
-------------------------------------------------------------X

PLEASE TAKE NOTICE, that upon the accompanying papers, any exhibits attached
thereto, and upon proceedings heretofore had, Timothy Shea, by his attorneys, John
Meringolo Esq., will move this Court, before the Honorable Analisa Torres, in the United
States District Court for the Southern District of New York, for an Order granting Mr.
Shea’s motion to transfer venue of this proceeding to the United States District Court of
Colorado and any other relief the Court deems just and proper.


Dated: November 5, 2020
       New York, NY




                                                       Respectfully submitted,
                                                       _/s/___________________
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